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          EXHIBIT H
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       US9591551                                                  HCL Sametime (“The Accused Product”)
1. Computer program         The accused product discloses a computer program product (e.g., HCL Sametime) embodied on a non-transitory
product embodied on a       storage medium (e.g., Smartphone’s memory), the computer program product (e.g., HCL Sametime) when executing
non-transitory storage      on a wireless device (e.g., Smartphone) configured to enable the wireless device (e.g., Smartphone), when located in
medium, the computer        a region, to initiate a network connection (e.g., SIP Invite) without using a network operator's home location register
program product when        that covers that region.
executing on a wireless
device configured to        The accused product uses Internet or IP network for calling. As shown below, the accused product doesn’t make use
enable the wireless         of home location register (e.g., HLR).
device, when located in
a region, to initiate a
network connection
without using a network
operator's home location
register that covers that
region, the computer
program product
configured to:




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(a) contact a server to   The accused product contacts a server (e.g., HCL Sametime Server) to communicate with the server (e.g., HCL
communicate with the      Sametime Server) over a wireless link (e.g., Wi-Fi/Cellular link).
server over a wireless
link, and
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(b) send, over the           The accused product sends, over the wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., HCL Sametime
wireless link, data to the   Server) that defines a call request (e.g., Invite signal from caller to server).
server that defines a call
request;
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wherein, in response to    In response to the call request (e.g., Invite signal from caller to server), a software application (e.g., software running
the call request, a        at HCL Sametime server to route/manage calls) running on the server (e.g., HCL Sametime Server) decides on the
software application       appropriate routing (e.g., Invite signal from server to callee) to a 3rd party end-user (e.g., Other users using HCL
running on the server      Sametime) for that call request (e.g., Invite signal from caller to server) without using the network operator's home
decides on the             or visitor location register.
appropriate routing to a
3rd party end-user for
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that call request without
using the network
operator's home or
visitor location register.




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3. Computer program    The computer program product (e.g., HCL Sametime) is downloadable (e.g., install) to the wireless device (e.g.,
product of claim 1,    Smartphone).
wherein the computer
program product is
downloadable to the
wireless device.
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                       https://play.google.com/store/apps/details?id=com.hcl.android.sametime&hl=en

4. Computer program    The computer program product (e.g., HCL Sametime) is embedded to the wireless device (e.g., Smartphone).
product of claim 1,
wherein the computer
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program product is
embedded in the
wireless device.




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5. Computer program   Computer program product (e.g., HCL Sametime) uses an application server (e.g., HCL Sametime Server).
product of claim 1,
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wherein the server is an
application server.




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7. Computer program        Computer program product (e.g., HCL Sametime) uses the wireless device (e.g., Smartphone) uses the internet (e.g.,
product of claim 1,        Wi-Fi/Cellular) to communicate with the server (e.g., HCL Sametime Server).
wherein the wireless
device uses the internet
to communicate with the
server.
9. Computer program        The computer program product (e.g., HCL Sametime) is configured to receive calls (e.g., voice calls) at the wireless
product of claim 1,        device (e.g., Smartphone).
wherein the computer
program product is
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configured to receive
calls at the wireless
device.




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12. Computer program   The computer program product (e.g., HCL Sametime) is configured to provide messages (e.g., Instant Messages
product of claim 1,    (IM)) over the internet (e.g., Wi-Fi/Cellular) from the wireless device (e.g., Smartphone) to the server (HCL
wherein the computer   Sametime Server).
program product is
configured to provide
messages over the
internet, or HTTP over
the internet
communication from the
wireless device to the
server.
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14. Computer program      The computer program product is configured to establish and control communication (e.g., SIP communication)
product of claim 1,       between the wireless device (e.g., Smartphone) and the server (e.g., HCL Sametime Server).
wherein the computer
program product is
configured to establish
and control
communication between
the wireless device and
the server.
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22. A method of            The accused product discloses a method of enabling a wireless device (e.g., Smartphone), located in a region, to
enabling a wireless        initiate a network connection (e.g., SIP Invite) without using a network operator's home location register that covers
device, located in a       that region.
region, to initiate a
network connection         The accused product uses Internet or IP network for calling. Hence, it bypasses network operator’s home location
without using a network    register as Wi-Fi/Cellular or internet based calling does not require home location register (HLR).
operator's home location
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register that covers that
region, comprising the
steps of:




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(a) the wireless device   The wireless device (e.g., Smartphone) using a module (e.g., HCL Sametime application) that is responsible for
using a module that is    contacting a server (e.g., HCL Sametime Server) to communicate with the server (e.g., HCL Sametime Server) over
responsible for           a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless device (e.g., Smartphone) includes the module (e.g.,
contacting a server to    HCL Sametime application) that is implemented as software and that is downloadable to the wireless device (e.g.,
communicate with the      Smartphone).
server over a wireless
link, wherein the
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wireless device includes
the module that is
implemented as
software and that is
downloadable to the
wireless device;




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(b) the wireless device    The wireless device (e.g., Smartphone) using the module (e.g., HCL Sametime application) to send, over the wireless
using the module to        link (e.g., Wi-Fi/Cellular link), data to the server (e.g., HCL Sametime Server) that defines a call request (e.g., Invite
send, over the wireless    signal from caller to server).
link, data to the server
that defines a call
request;
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(c) in response to the     In response to the call request (e.g., Invite signal from caller to server), a software application (e.g., software running
call request, a software   at HCL Sametime server to route/manage calls) running on the server (e.g., HCL Sametime Server) deciding on the
application running on     appropriate routing (e.g., Invite signal from server to callee) to a 3rd party end-user (e.g., Other users using HCL
the server deciding on     Sametime) for that call request (e.g., Invite signal from caller to server) without using the network operator's home
the appropriate routing    or visitor location register.
to a 3rd party end-user
for that call request
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without using the
network operator's home
or visitor location
register.




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23. A system              The accused product discloses a system comprising a wireless device (e.g., Smartphone) located in a region and a
comprising a wireless     server (e.g., HCL Sametime Server) for enabling the wireless device (e.g., Smartphone) to communicate with the
device located in a       server (e.g., HCL Sametime Server) to initiate a network connection (e.g., SIP Invite) without using a network
region and a server for   operator's home location register that covers that region, wherein the server includes a software application (e.g.,
enabling the wireless     software running at HCL Sametime server to route/manage calls) that functions as a calls manager.
device to communicate
with the server to
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initiate a network
connection without
using a network
operator's home location
register that covers that
region, wherein the
server includes a
software application that
functions as a calls
manager, wherein:




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(a) the wireless device is   The wireless device (e.g., Smartphone) is operable using a module (e.g., HCL Sametime application) that is
operable using a module      responsible for contacting a server (e.g., HCL Sametime Server) to communicate with the server (e.g., HCL Sametime
that is responsible for      Server) over a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless device (e.g., Smartphone) includes the
contacting the server to     module (e.g., HCL Sametime application) that is implemented as software and that is downloadable to the wireless
communicate with the         device (e.g., Smartphone).
server over a wireless
link, wherein the
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wireless device includes
the module that is
implemented as
software and that is
downloadable to the
wireless device;




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(b) the wireless device is The wireless device (e.g., Smartphone) is operable using the module (e.g., HCL Sametime application) to send, over
operable using the         the wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., HCL Sametime Server) that defines a call request
module to send, over the (e.g., Invite signal from caller to server).
wireless link, data to the
server that defines a call
request;
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(c) in response to the      In response to the call request (e.g., Invite signal from caller to server), the call manager software (e.g., software
call request, the calls     pertaining to SIP proxy running at HCL server to route/manage calls) included on the server (e.g., HCL Sametime
manager software            Server) is operable to decide on the appropriate routing (e.g., Invite signal from server to callee) to a 3rd party end-
included on the server is   user (e.g., Other users using HCL Sametime) for that call request without using the network operator's home or visitor
operable to decide on       location register.
the appropriate routing
to a 3rd party end-user
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for that call request
without using the
network operator's home
or visitor location
register.




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24. A server for        The accused product discloses a server enabling a wireless device (e.g., Smartphone) to communicate with the server
enabling a wireless     (e.g., HCL Sametime Server) to initiate a network connection (e.g., SIP invite) without using a network operator's
device to communicate   home location register that covers that region, wherein the server includes a software application (e.g., software
with the server to      running at HCL Sametime server to route/manage calls) that functions as a calls manager.
initiate a network
connection without
using a network
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operator's home location
register, wherein the
server includes a
software application that
functions as a calls
manager, wherein:




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(a) the wireless device is   The wireless device (e.g., Smartphone) is operable using a module (e.g., HCL Sametime application) that is
operable using a module      responsible for contacting a server (e.g., HCL Sametime Server) to communicate with the server (e.g., HCL Sametime
that is responsible for      Server) over a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless device (e.g., Smartphone) includes the
contacting the server to     module (e.g., HCL Sametime application) that is implemented as software and that is downloadable to the wireless
communicate with the         device (e.g., Smartphone).
server over a wireless
link, wherein the
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wireless device includes
the module that is
implemented as
software and that is
downloadable to the
wireless device;




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(b) the wireless device is The wireless device (e.g., Smartphone) is operable using the module (e.g., HCL Sametime application) to send, over
operable using the         the wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., HCL Sametime Server) that defines a call request
module to send, over the (e.g., Invite signal from caller to server).
wireless link, data to the
server that defines a call
request;
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(c) in response to the      In response to the call request (e.g., Invite signal from caller to server), call manager software (e.g., software
call request, the calls     pertaining to SIP proxy running at HCL server to route/manage calls) included on the server (e.g., HCL Sametime
manager software            Server) is operable to decide on the appropriate routing (e.g., Invite signal from server to callee) to a 3rd party end-
included on the server is   user (e.g., Other users using HCL Sametime) for that call request (e.g., Invite signal from caller to server) without
operable to decide on       using the network operator's home or visitor location register.
the appropriate routing
to a 3rd party end-user
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for that call request
without using that
network operator's home
or visitor location
register.




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